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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                         )
VR Optics, LLC                                           )
                                                         )       No. 16-cv-6392
                          Plaintiff,                     )
                                                         )       COMPLAINT FOR PATENT
       v.                                                )       INFRINGEMENT
                                                         )
                                                         )       JURY TRIAL DEMAND
Peloton Interactive, Inc., a Delaware corporation        )
                                                         )
                          Defendant.                     )
                                                         )

                         COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff VR Optics, LLC (“VR Optics”) submits its Complaint for Patent Infringement

and Jury Demand against Defendant Peloton Interactive, Inc. (“Defendant”), and states as

follows:

                                             THE PARTIES

           1.       Plaintiff VR Optics, LLC is a New York Limited Liability Company with its

principal place of business at 430 West Broadway, Suite 2B, New York, NY 10012.

           2.       On information and belief, Defendant Peloton is a Delaware corporation with its

principal place of business at 158 West 27th Street, 4th Floor, New York, NY 10011.


                                       JURISDICTION AND VENUE

           3.       This is a civil action for patent infringement arising under the acts of Congress

relating to patents, namely the Patent Laws of the United States, 35 U.S.C. § 1 et seq.

           4.       This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1338.



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        5.       Defendant is subject to personal jurisdiction in this Court based at least on its

presence, residence, and activities in this Judicial District. Defendant’s corporate headquarters are

located in this Judicial District, and Defendant is doing business in this Judicial District.

        6.       To the extent that Defendant is not subject to the personal jurisdiction in this

Court as a resident of New York, Defendant is subject to the jurisdiction of the Court pursuant

to N.Y.C.P.L.R. 302(a). Specifically, on information and belief, Defendant causes tortious

injury in New York, namely from the tort of patent infringement. Defendant also conducts or

solicits business and engages in a persistent course of conduct in New York, and Defendant

derives substantial revenue from its products and/or services used and/or sold in New York.

        7.       Venue is proper in this Court under 28 U.S.C. §§ 1391(b)-(d) and 28 U.S.C.

§ 1400(b).

                                   FACTUAL BACKGROUND

       8.        VR Optics is the owner of the entire right, title, and interest in and to U.S. Patent

No. 6,902,513 (“the ‘513 patent”). The ‘513 patent was assigned to Microsoft Corporation

(“Microsoft”) on December 9, 2014. VR Optics purchased the ‘513 patent from Microsoft and a

properly executed assignment of the ‘513 patent was recorded on August 4, 2016, at the United

States Patent and Trademark Office.

       9.       Defendant provides interactive fitness equipment that Peloton refers to as the

Peloton bike or Peloton cycle (hereinafter collectively referred to as the “Peloton interactive

fitness equipment”) as well as a system for interactive fitness that includes the Peloton

interactive fitness equipment. Defendant provides functionality for displaying live or

prerecorded content, tracking personal fitness data, communicating with other fitness equipment




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to, e.g., compare fitness data, and visually display such data, and taking “outdoor” scenic rides in

locations around the globe.

         10.   Defendant has incorporated the innovative features of the ‘513 patent into its

system for interactive fitness that includes the Peloton interactive fitness equipment, as explained

below.


                                   COUNT I:
                     INFRINGEMENT OF U.S. PATENT NO. 6,902,513

         11.   VR Optics incorporates paragraphs 1-10 above as if set forth in full.

         12.   VR Optics is the owner the ‘513 patent, entitled “Interactive fitness equipment,”

which was duly and legally issued by the United States Patent and Trademark Office on June 7,

2005. All maintenance fees have been timely paid and the patent is in force. A true and correct

copy of the ‘513 patent is attached as Exhibit A.

         13.   VR Optics has never licensed Defendant under the ‘513 patent or otherwise

authorized Defendant to practice the ‘513 patent.

         14.   Defendant has created and used, or actively induced others to use, a system for

interactive fitness that includes the Peloton interactive fitness equipment. The system,

according to Defendant’s website, offers users an indoor cycling experience with live and on-

demand classes. Live and one-demand classes can be streamed directly to the Wi-Fi enabled

touchscreen which features ANT+ wireless (typically used with heart rate monitors), two stereo

speakers, headphone and microphone connectors, and a front-facing camera to communicate

with other users. While streaming live or on-demand cycling classes, the touchscreen displays

in-depth personal metrics (e.g., total distance, cadence, power output, resistance level, and




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calories) and a leaderboard to compare personal metrics with other users. The system also

permits users to enjoy an “outdoor” scenic ride in locations around the globe.

       15.     Defendant also provides an application for mobile computing devices (the

“Peloton app”), such as smartphones and tablets, and offers a 14-day free trial that allows

consumers to use the infringing features of the system. Defendant charges its customers a

weekly or monthly subscription fee to stream live and on-demand classes on their mobile devices

or by way of the touchscreen of the Peloton interactive fitness equipment. Additionally,

Defendant sells, offers for sale, and/or markets the system, including the Peloton app and Peloton

interactive fitness equipment, with the intent that such customers use the Peloton app and

Peloton interactive fitness equipment. Still further, Defendant has used the Peloton app and

Peloton interactive fitness equipment in the course of testing and development, and train

Defendant’s employees to facilitate providing support to Defendant’s customers.

       16.      Defendant has infringed and continues to infringe one or more claims of the ‘513

patent, including for example (but not limited to) at least claim 1 of the ‘513 patent, by making,

using, selling and/or offering for sale products, including at a minimum the Peloton interactive

fitness equipment, covered by claim 1 of the ‘513 patent without VR Optics’ authorization in

violation of 35 U.S.C. § 271. Infringement is direct, as well as contributory, and by actively

inducing infringement by others.

       17.     Defendant has in the past and continues to promote, advertise and instruct

customers and potential customers about Defendant’s products and uses of the products,

including infringing uses of the Peloton interactive fitness equipment. See, e.g., Ex. B (Peloton

brochure). Defendant’s promotion, advertising, and instruction efforts include, at a minimum,

maintenance of the websites www.pelotoncycle.com and distribution of brochures. See, e.g., id.



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Defendant’s website includes live customer support and infringing features and specifications of

the Peloton interactive fitness equipment. Defendant engaged in these acts with the actual intent

to cause the acts which they knew or should have known would induce actual infringement.

       18.     Defendant had constructive, if not actual, notice of the existence of the ‘513

patent and has been aware of the ’513 patent since at least March 4, 2014, because on that date,

Defendant cited the ‘513 patent in an Information Disclosure Statement filed by Defendant in

connection with its own patent, U.S. Patent No. 9,174,085. Ex. C. Furthermore, the ‘513 patent

is well-known in the industry – having been cited in 89 issued patents since its filing date,

including Defendant’s own patent—U.S. Patent No. 9,174,085.

       19.     Additionally, on information and belief, Defendant had constructive, if not actual,

notice of the existence of the ‘513 patent since at least May 2015. In May 2015, Microsoft

joined with other industry leaders in the Open Register of Patent Ownership (“OroPO”). Ex. D.

Through OroPO’s website, Microsoft provides a list that includes to the best of its knowledge all

issued patents that Microsoft currently owns, either directly or through subsidiaries. See id; see

also Ex. E; Ex. F. The list includes the ‘513 patent as covering Microsoft’s products, id, which

has since been purchased by VR Optics.

       20.     Defendant has continued to make, use, sell and/or offer for sale products,

including at a minimum the Peloton interactive fitness equipment with knowledge of the ‘513

patent. In addition, Defendant has continued to promote, advertise and instruct customers and

potential customers about the Peloton interactive fitness equipment and uses of that interactive

fitness equipment, including infringing uses of the Peloton interactive fitness equipment with

knowledge of the ‘513 patent. See, e.g., Ex. B.




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        21.     Defendant knew or should have known that the Peloton interactive fitness

equipment is especially made or especially adapted for use in an infringement of the ‘513 patent

and that there is no substantially non-infringing use of the Peloton interactive fitness equipment.

        22.     Defendant’s products are not staple articles or commodities of commerce suitable

for substantial non-infringing use.

        23.     Defendant’s actions have and continue to constitute active inducement of and

contributory infringement of the ‘513 patent in violation of 35 U.S.C. §271(b) and (c).

        24.     Defendant has supplied and continues to supply the Peloton interactive fitness

equipment from the United States, among other ways through its interactive website, to

customers outside of the United States. By doing so, Defendant has intended and currently

intends that the Peloton interactive fitness equipment be used by its customers outside of the

United States. Such use outside the United States would constitute infringement if it occurred

within the United States. Therefore, Defendant is liable for infringement of the ‘513 patent

pursuant to 35 U.S.C. §§ 271(f)(1)-(2).

        25.      Defendant’s infringement of the ‘513 patent has caused irreparable harm to VR

Optics and will continue to do so unless enjoined.

                                       PRAYER FOR RELIEF

        THEREFORE, Plaintiff VR Optics, LLC prays for judgment and relief against Defendant

Peloton Interactive, Inc. including:

        A.      A judgment that Defendant has infringed and continues to infringe one or more

claims of the asserted patent (U.S. Patent No. 6,902,513) in violation of 35 U.S.C. § 271(a), (b),

(c), and (f);




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       B.      A preliminary and permanent injunction enjoining Defendant, its officers, agents,

servants, employees and attorneys, and other persons in active concert or participation with

Defendant, and their parents, subsidiaries, divisions, successors and assigns, from further

infringement of the asserted patent (U.S. Patent No. 6,902,513);

       C.      A judgment awarding VR Optics all damages adequate to compensate for

Defendant’s infringement of VR Optic’s asserted patent, and in no event less than a reasonable

royalty for Defendant’s acts of infringement, including all pre-judgment and post-judgment

interest at the maximum rate permitted by law;

       D.       An assessment of costs, including reasonable attorney fees pursuant to 35 U.S.C.

§ 285, and prejudgment interest against Defendant;

       E.      Such other and further relief as this Court may deem just and proper.


                                        JURY DEMAND

       VR Optics demands a trial by jury on all issues so triable.




       August 11, 2016




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